                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                    Case No. 06-CR-50

LAWRENCE A. MATTHEWS
and LARRY D. WHITE,

               Defendants.


   RECOMMENDATION AND ORDER RE: DEFENDANTS’ PRETRIAL MOTIONS


                                       I. BACKGROUND

       On March 7, 2006, a grand jury sitting in the Eastern District of Wisconsin returned a four-

count indictment (together with a forfeiture provision) naming Lawrence A. Matthews (“Matthews”)

and Larry D. White (“White”) as the defendants. In Count One, Matthews and White are charged

with conspiracy to distribute cocaine in violation of 21 U.S.C. § 846. In Count Two, Matthews and

White are charged with distribution of 500 grams or more of a substance containing cocaine on or

about January 26, 2006, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. In Count Three,

Matthews is charged with distribution of 500 grams or more of a substance containing cocaine on

or about February 6, 2006, in violation of 21 U.S.C. § 841(a)(1). In Count Four, Matthews is charged

with using and carrying a firearm during and in relation to a drug trafficking crime on February 6,

2006, to wit, the crime charged in Count Three of the indictment, in violation of 18 U.S.C. § 924(c).

Matthews and White were both arraigned and both entered pleas of not guilty. Their trial is currently

scheduled to commence before United States District Judge Lynn Adelman on June 5, 2006, with




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    a final pretrial to be conducted on May 24, 2006. Each of the defendants filed pretrial motions.

    Matthews filed a “Motion to Suppress Custodial Statement.” White filed a Motion for Order

    Directing Government to Identify Confidential Informant” and a “Motion for Severance.” Those

    motions have now been fully briefed and are ready for resolution.

                              II. MATTHEWS' MOTION TO SUPPRESS

             On April 13, 2006, an evidentiary hearing was conducted with respect to Matthews’ Motion

    to Suppress. At the conclusion of the testimony and after the arguments of counsel, this court set

    forth on the record its reasons for recommending that Matthews’ motion be denied by the district

    judge. A hard copy of the transcript containing the reasons for the recommendation is contained in

    the court file. For the reasons more particularly set forth therein, it will be recommended that

    Matthews’ motion to suppress be denied.

                                        III. WHITE'S MOTIONS

             White filed two pretrial motions – a motion for disclosure of the identity of a confidential

    informant (CI) and a motion to sever his trial from that of Matthews.1 As to the former motion,

    White states the following:

             [D]iscovery reveals that White, Matthews and [Melvin] Williams were investigated
             and ultimately charged based upon evidence provided by a cooperating witness,
             identified in the discovery only as a confidential informant or “CI.” Based on the
             discovery, the government will likely call the CI at some point during the trial to
             identify White as a member of the alleged conspiracy. White is entitled to a
             reasonable opportunity to investigate the CI to prepare for cross-examination;
             therefore, the identity of the CI must be revealed to White and his counsel. See
             Rovario v. United States, 353 U.S. 53, 60-61 (1957).

    (Amend. Mot. at 1-2.)


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        White subsequently filed an amended motion for disclosure of the identity of the CI.
References in this recommendation and order are to White’s amended motion.

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       In its response to White’s motion (as supported by the affidavit of AUSA Mel Johnson), the

government explains that “[d]efendant White was not charged on the basis of evidence provided by

the CI” whose identity White seeks. (Gov’t’s Resp. at 3.) Instead,

       the CI who cooperated in the investigation of Melvin Williams was not known to be
       present at any event relevant to this case and is not believed to even know Larry
       White. Accordingly, . . . information from the CI was not the basis to charge the
       defendant. The defense has not, and cannot, point out any evidence to the contrary.

               The CI will not necessarily be called as a witness if the defendant goes to trial.
       Since the CI was not present at any events in which the defendant participated, the CI
       could not provide direct evidence of any acts by the defendant. . . . [D]efense counsel
       had been informed that the only reason the CI might be called as a witness at trial is
       if Melvin Williams testifies and is attacked by the defense for recent fabrication or
       improper influence or motive. In that case, the CI might be called to testify about
       prior consistent statements by Williams about the Milwaukee police detective
       involved in providing him with cocaine for resale. Fed. R. Evid. 801(d)(1)(B).

(Gov’t’s Resp. at 3-4.) Moreover, in further support of its opposition to disclosure of the identity of

the CI, the government asserts, among other things, that “[t]he FBI is still working with this CI and

plans to use this CI in other investigations, the success of which could be jeopardized by the

disclosure of the person’s identity.” (Gov’t’s Resp. at 4.)

       In Roviaro v. United States, 353 U.S. 53 (1957), the Supreme Court held that where an

informant is a transactional witness, that is, where he or she was an active participant in the events

leading to an arrest, the government must disclose the informant’s identity to the defendant.

Otherwise, it is well established that the government has a limited privilege to withhold from

disclosure the identity of a confidential informant. Id. at 60.

       The purpose of the privilege is the furtherance and protection of the public interest
       in effective law enforcement. The privilege recognizes the obligation of citizens to
       communicate their knowledge of the commission of crimes to law-enforcement
       officials and, by preserving their anonymity, encourages them to perform that
       obligation.


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Id. at 59.

        Therefore, when determining whether to compel disclosure of an informant’s identity, courts

must balance “the public interest in protecting the flow of information against the individual’s right

to prepare his defense.” Id. at 62. The government’s limited privilege of withholding the identity

of an informant gives way once the defendant proves that the information sought would significantly

aid in the preparation of his defense. United States v. Andrus, 775 F.2d 825, 841 (7th Cir. 1985).

Absent such a showing, disclosure is not required. Id.

        Oftentimes, the government seeks to maintain the anonymity of an informant out of a concern

for his or her safety. This is especially true where the defendants have been charged with a drug-

related offense. As the Seventh Circuit Court of Appeals noted in United States v. Bender, 5 F.3d

267, 270 (7th Cir. 1993):

        Understandably, not many people want to become police informants in light of the
        violence within the drug subculture. Drug dealers are not known for treating
        informers with compassion.

        The Seventh Circuit has also held that where an informer is a mere “tipster,” disclosure of

his identity will rarely be appropriate under the balancing test of Roviaro. United States v. Lewis,

671 F.2d 1025, 1027 (7th Cir. 1982); see also United States v. Mayomi, 873 F.2d 1049, 1055 (7th

Cir. 1989). This is so, because, although tipsters supply law enforcement officers with important

leads, they are rarely further involved in the investigation, apprehension or prosecution of the

suspect. In the end, “transactional witnesses,” as opposed to tipsters are more likely to require

disclosure. A transactional witness is a witness that is an active participant in the investigation

leading to arrest. Bender, 5 F.3d at 270.

        After giving due consideration to the arguments of the parties, I am not persuaded that the


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government should be required to reveal the identity of the CI in this case. Simply stated, the CI was

not a transactional witness to any of the events which form the basis of the charges against White.

To be sure, he may have provided information which contributed to the arrest of Melvin Williams,

who is now one of the witnesses against White in this criminal prosecution. But, there is no

indication that the CI was a “transactional witness” to any of the events upon which the case against

White is based. Furthermore, White has not offered any other justification for the court’s ordering

the government to disclose the CI’s identity. Thus, defendant White’s motion for disclosure of the

identity of the CI will be denied.

       As previously stated, White also filed a motion for severance of his trial from that of his co-

defendant, Larry Matthews. In support of that motion, White asserts that “discovery reveals that

Matthews, White’s co-defendant and alleged co-conspirator, made statements after his arrest

implicating White. Thus, severance is mandated by Bruton v. United States, 391 U.S. 123 (1968),

and United States v. Oglesby, 764 F.2d 1273 (7th Cir. 1985).” (Mot. at 1.)

       In its response, the government acknowledges that Matthews did indeed give a statement to

law enforcement authorities in which statement he implicated White. The government also

acknowledges that such statement, in its un-redacted form, could not be used during a joint trial

without running afoul of the Supreme Court’s holding in Bruton. However, the government argues

that severance of White’s and Matthews’ trials is not mandated by the mere existence of Matthews’

statement. Instead,

       remedies short of severance could solve the confrontation problem. Those remedies
       include redaction that would replace White’s name with neutral pronouns which did
       not directly refer to him along with limiting instructions telling the jury not to use
       Matthews’ confession as evidence against White. Richardson v. Marsh, 481 U.S. 200
       (1987); United States v. Souffront, 338 F.3d 809 (7th Cir. 2003); United States v.


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          Sutton, 337 F.3d 792, 798-800 (7th Cir.), cert denied, 540 U.S. 1050 (2003).

(Gov’t’s Resp. at 4-5.)

          Having said that, the government in the end asserts that it does not oppose a severance of

White’s trial from Matthews’ trial. However, in the event a severance is granted, the government

states that it would prefer to try Matthews first. This is because the case against Matthews is “very

strong.” (Gov’t’s Resp. at 5.) And, once Matthews is convicted, the government would anticipate

immunizing Matthews, calling him as a witness against White, and then asking him questions about

Whites’ involvement in the conspiracy, i.e., obtaining from Matthews under oath the same

information which is contained in the statement Matthews gave to law enforcement officers after his

arrest.

          It is true that redaction can sometimes work as a remedy in a situation such as presented in

the case at bar. However, redaction can only work if the words used in place of the co-defendant’s

name (such as White in this case) “avoid[ ] a one-to-one correspondence between the confession and

easily identified figures sitting at the defense table.” United States v. Sutton, 337 F.3d 792, 799 (7th

Cir. 2003) (quoting United States v. Hoover, 246 F.3d 1054, 1059 (7th Cir. 2001)). Regrettably, the

government has not presented Matthews’ statement (or the proposed redacted version) to this court

for review. Thus, I cannot render an opinion as to whether any proposed redacted version would

comply with Sutton. The decision on that issue will need to be deferred entirely to Judge Adelman,

the trial judge. In that regard, Judge Adelman would no doubt appreciate being provided with a copy

of the government’s proposed redacted statement well prior to the final pretrial (which is currently

set for May 24, 2006) so that he might give consideration to the need for separate trials for Matthews

and White, as well as the order in which to conduct any ordered separate trials.          Accordingly,


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although this court will not issue an order on the merits of defendant White’s motion for severance,

it will order the government to file with Judge Adelman within ten days of the date of this

Recommendation and Order the proposed redacted version of Matthews’ statement.

        NOW THEREFORE IT IS RECOMMENDED that Matthews’ motion to suppress be

DENIED;

        NOW THEREFORE IT IS ORDERED that White’s motion for disclosure of the identity

of the confidential informant be and hereby is DENIED;

        IT IS FURTHER ORDERED that, no later than ten days from the date of this order, the

government file with Judge Adelman its proposed redacted version of defendant Matthews’

statement;

        IT IS FURTHER ORDERED that White’s motion for severance be deferred entirely to the

trial judge.

        Your attention is directed to 28 U.S.C. § 636(b)(1)(A) - (C), Federal Rule of Criminal

Procedure 59(a) - (b), and General Local Rule 72.3 (E.D. Wis.), whereby written objections to any

order or recommendation herein or part thereof may be filed within ten days of the date of service

of this recommendation and order. Objections are to be filed in accordance with the Eastern District

of Wisconsin’s electronic case filing procedures. Courtesy paper copies of any objections shall be

sent directly to the chambers of the district judge assigned to the case. Failure to object in

accordance with the rules cited herein waives your right to review.

        SO ORDERED this 2nd day of May, 2006, at Milwaukee, Wisconsin.

                                              /s/ William E. Callahan, Jr.
                                              WILLIAM E. CALLAHAN, JR.
                                              United States Magistrate Judge


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